
46 So.3d 127 (2010)
Stevens S. ARNOUX, Appellant,
v.
STATE of Florida, Appellee.
No. 4D09-2839.
District Court of Appeal of Florida, Fourth District.
October 20, 2010.
Eileen I. Landy of Michael B. Cohen, P.A., Fort Lauderdale, for appellant.
Bill McCollum, Attorney General, Tallahassee, and Don M. Rogers, Assistant Attorney General, West Palm Beach, for appellee.
PER CURIAM.
We affirm without prejudice to appellant filing a timely motion for relief pursuant to Florida Rule of Criminal Procedure 3.850.
WARNER, POLEN and LEVINE, JJ., concur.
